Case 23-13209               Doc 7-1          Filed 10/03/23 Entered 10/03/23 16:32:29                                   Desc Proposed
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